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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

KARMEL AL HAJ, individually and on behalf of
all others similarly situated,
                                                 No. 17-cv-6730
                  Plaintiff,
                                                 Hon. Gary Feinerman
        v.
                                                 Magistrate Judge Susan E. Cox
PFIZER INC.,

                  Defendant.


           MEMORANDUM LAW IN SUPPORT OF PLAINTIFF’S MOTION
       FOR CLASS CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL


                        [REDACTED VERSION FILED ON PUBLIC DOCKET
                       UNREDACTED VERSION FILED UNDER SEAL UNDER
                         AGREED CONFIDENTIALITY ORDER (Dkt. # 51)]




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                                     I.     INTRODUCTION

          Since the question common to “all putative class members [is] whether [Pfizer’s]

packaging was likely to mislead a reasonable consumer,” class certification is appropriate

because “[t]he claims of every class member will rise or fall on the resolution of that question.”1

Pfizer uniformly touted Robitussin Maximum Strength Cough + Chest Congestion DM

(“Maximum Strength Robitussin”)2 as “Maximum Strength” and charged a premium for it. In

reality, it contains less active ingredients and less doses in a bottle than the same size (but

cheaper) bottle of Robitussin Cough + Chest Congestion DM (“Regular Robitussin”).



                                                                     3




    1
        Suchanek v. Sturm Foods, Inc., 764 F.3d 750, 755, 757 (7th Cir. 2014) (“Suchanek I”).
    2
     The products at issue include three bottle sizes, which are identified in Paragraph 16 of
Plaintiff’s Offer of Proof in Support of Plaintiff’s Motion for Class Certification and
Appointment of Class Counsel (“Proffer”). All exhibits (“Ex.”) referenced herein are attached to
the Declaration of Elizabeth A. Fegan in Support of Plaintiff’s Motion for Class Certification and
Appointment of Class Counsel filed contemporaneously herewith.
    3
        Proffer ¶ 61.


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                                                   4
                                                       Pfizer thus deceived consumers by naming the

product Maximum Strength Robitussin, when it was not stronger than Regular Robitussin. As a

result, Plaintiff and the Class did not receive the benefit of the bargain and suffered out-of-pocket

losses when they paid more for less active ingredient.

          Certification of a class of persons who purchased Maximum Strength Robitussin for

personal or household use is appropriate under Rule 23(a) and (b)(3). The class consists of

purchasers of millions of units of Maximum Strength Robitussin, satisfying numerosity under

Rule 23(a)(1). Rule 23(a)(2) is satisfied because the harm suffered by Plaintiff and the class

arises from Pfizer’s uniform campaign, called Project Accelerate, to overcharge customers by

decreasing the amount of active ingredients in Maximum Strength Robitussin and cutting the

doses by half compared to Regular Robitussin. Indeed, Plaintiff’s “claims and those of the class

[she] would like to represent all derive from a single course of conduct by [Pfizer]: the marketing

and packaging of [Maximum Strength Robitussin].”5 Third, under Rule 23(a)(3), Plaintiff is

typical of the class, each of whom purchased Maximum Strength Robitussin and paid more than

the cost of Regular Robitussin. And Plaintiff is adequate under Rule 23(a)(4) because she has the

same interests as the class and will vigorously prosecute their interests through qualified counsel

(who satisfy Rule 23(g)).

          Common questions of law or fact predominate under Rule 23(b)(3). For the Nationwide

Class, New Jersey law applies because all of Pfizer’s conduct intended to deceive consumers

occurred in New Jersey, which maintains a strong interest in regulating fraud and compensating

victims. Alternatively, common questions of law predominate for the Consumer Fraud Multi-



    4
        Id. ¶ 60.
    5
        Suchanek I, 764 F.3d at 756.


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                                                                              0
                                                                                  Given the individual

amounts at stake balanced against the class-wide fraud, a class action is superior. Plaintiff

respectfully requests that the Court grant Plaintiff’s motion for class certification.

                                II.     THE PROPOSED CLASSES

          First, Plaintiff seeks certification of a Nationwide Class:

               All persons residing in the United States who purchased Robitussin
               Maximum Strength Cough + Chest Congestion DM for personal or
               household use.

Alternatively, Plaintiff seeks certification of a Consumer Protection Multi-State Class:

               All persons residing in California, Colorado, District of Columbia,
               Florida, Illinois, Massachusetts, Michigan, Minnesota, Missouri, New
               Hampshire, New Jersey, New Mexico, New York, and Washington who
               purchased Robitussin Maximum Strength Cough + Chest Congestion
               DM for personal or household use.

Also, Plaintiff seeks to certify an Unjust Enrichment Multi-State Class defined as follows:

               All persons residing in Arkansas, Colorado, District of Columbia,
               Illinois, Iowa, Missouri, New Mexico, and New York who purchased
               Robitussin Maximum Strength Cough + Chest Congestion DM for
               personal or household use.

As a second alternative, Plaintiff seeks to certify an Illinois Subclass under the Illinois

Consumer Fraud and Deceptive Practices Act and/or the law of unjust enrichment in Illinois:

               All persons residing in Illinois who purchased Robitussin Maximum
               Strength Cough + Chest Congestion DM for personal or household use.

Excluded from the proposed classes are: (i) Pfizer, any entity in which any Pfizer has a

controlling interest or which has a controlling interest in Pfizer, (ii) persons or entities that




    9
        Id. (Line 454).
    10
         Id. (Line 1127).


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purchased Maximum Strength Robitussin primarily for resale, and (iii) governmental entities,

including the Court and its staff.

              III.     SUMMARY OF FACTS COMMON TO THE ENTIRE CLASS

          Through Project Accelerate, Pfizer Reformulated Maximum Strength Robitussin to
          Contain Less Active Ingredients Per Bottle Than Regular Robitussin




                                                                                 17




    11
         Proffer ¶ 20.
    12
         Id. ¶ 21.
    13
         Id. ¶ 22.
    14
         Id. ¶¶ 23, 24.
    15
         Id. ¶ 26.
    16
         Id. ¶ 29.
    17
         Id. ¶ 32.


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    25
         Id. ¶ 49.
    26
         Id. ¶ 50.
    27
         Id. ¶ 51 (emphasis added).
    28
         Id. ¶ 52.
    29
         Id. ¶ 53.
    30
         Id. ¶ 56 (collecting research).
    31
         Id. ¶ 57.


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    32
         Id.
    33
         Id. ¶ 58.
    34
         Id. ¶ 60.
    35
         Id. ¶ 61. See supra at note 3.
    36
         Proffer ¶ 64 (emphasis added).
    37
         Id. ¶ 67 (emphasis added).
    38
         Id. ¶ 70.
    39
         Id. ¶ 71 (emphasis added).


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          Pfizer Launched the Reformulated Maximum Strength Robitussin




    40
         Id. ¶ 7.
    41
         Id. ¶¶ 13, 14.
    42
         Id. ¶¶ 74, 75, 82, 83, 84. See also Ex. 15 (Attachment 7-A to Lesch Report).
    43
         Proffer ¶ 77.
    44
         Id. ¶ 79.
    45
         Id. ¶ 81.
    46
         Id. ¶ 85.
    47
         Id. ¶ 86.


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                  The policy at the very core of the class action mechanism is to
                  overcome the problem that small recoveries do not provide the
                  incentive for any individual to bring a solo action prosecuting his
                  or her rights. A class action solves this problem by aggregating the
                  relatively paltry potential recoveries into something worth
                  someone’s (usually an attorney’s) labor.[56]

While the Court should engage in a “rigorous analysis,” “the office of a Rule 23(b)(3)

certification ruling is not to adjudicate the case. . . .”57 “[R]ather, it is to select the metho[d] best

suited to adjudication of the controversy fairly and efficiently.”58 Thus, “Rule 23 grants courts no

license to engage in free-ranging merits inquiries at the certification stage.”59 Though Plaintiff

“bear[s] the burden of showing that a proposed class satisfies the Rule 23 requirements,” she

“need not make that showing to a degree of absolute certainty”60 and “the court should not turn

the class certification proceedings into a dress rehearsal for the trial on the merits.”61

                       V.   THE PROPOSED CLASSES SATISFY RULE 23(a)

          The Rule 23(a) Standards

          “To be certified, a proposed class must satisfy the four requirements of Rule 23(a):

‘(1) the class is so numerous that joinder of all members is impracticable; (2) there are questions

of law or fact common to the class; (3) the claims or defenses of the representative parties are

typical of the claims and defenses of the class; and (4) the representative parties will fairly and




    56
         Suchanek I, 764 F.3d at 759 (quotation and citation omitted).
    57
      Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011); Amgen Inc. v. Conn. Ret.
Plans & Tr. Funds, 568 U.S. 455, 460 (2013).
    58
         Amgen, 568 U.S. at 460.
    59
         Id. at 466.
    60
         Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012).
    61
         Id. (citations omitted).


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adequately protect the interests of the class.’”62 These factors are satisfied here.

          Pfizer Sold Millions of Bottles of Maximum Strength Robitussin, Making Joinder of
          Purchasers Impracticable

          Rule 23(a)(1) requires that the proposed classes be “so numerous that joinder of all

members is impracticable.”63 Numerosity does not require a plaintiff “plead or prove the exact

number of class members,” rather “the court may make common sense assumptions to determine

numerosity.”64                                                                            65



          Pfizer’s Uniform Conduct Affected All Class Members

           To satisfy commonality, “there needs to be one or more common questions of law or fact

that are capable of class-wide resolution and are central to the claims’ validity.”66 Claims need

not be identical: “some degree of factual variation will not defeat commonality provided that

common questions yielding common answers can be identified.”67 Ultimately, “even a single

common question” can satisfy the commonality requirement.68

          Courts evaluating class certification under state consumer protection statutes have

frequently found commonality in questions that turn on a defendant’s uniform conduct. For

example, in Suchanek I, the Seventh Circuit reversed a finding of no commonality because “the

question whether the [defendant’s] packaging was likely to deceive a reasonable consumer is




    62
      Boundas v. Abercrombie & Fitch Stores, Inc., 280 F.R.D. 408, 411 (N.D. Ill. 2012)
(Feinerman, J.) (citing Fed. R. Civ. P. 23).
    63
         Fed. R. Civ. P. 23(a)(1).
    64
       Barnes v. Air Line Pilots Ass’n, 310 F.R.D. 551, 557 (N.D. Ill. 2015) (Feinerman, J.)
(citations omitted).
    65
         Ex. 15 (Attachment 2 to Lesch Report).
    66
         Beaton v. SpeedyPC Software, 907 F.3d 1018, 1026 (7th Cir. 2018).
    67
         Boundas, 280 F.R.D. at 413.
    68
         Dukes, 564 U.S. at 338.


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common.”69 Indeed, “[c]ourts routinely find that whether a product[‘s] packaging, seen by all

purchasers of the product, is misleading is an issue that satisfies commonality.”70

          Here, the harm alleged by Plaintiff and the classes results from the same corporate

decision: Project Accelerate, a uniform decision to decrease the amount of active ingredients

within a Robitussin bottle while holding it out as Maximum Strength to extract a higher price.

Calling the reformulated product “Maximum Strength,” even though the product contained less

active ingredients and doses than a bottle of Regular Robitussin, is objectively deceptive.

Consumers did not receive the benefit of the bargain or they suffered an out-of-pocket loss.71

Plaintiff need only establish a “single common question” to satisfy Rule 23(a)(2), and that

requirement is plainly met in this case.72 The question of whether Pfizer’s sale of Maximum

Strength Robitussin as “Maximum Strength” when it was “less than” Regular Strength was false,

unfair, deceptive, and/or misleading satisfies the commonality requirement.

          Plaintiff’s Claims Are Typical as They Arise from Pfizer’s Conduct

          Rule 23(a)(3) evaluates “whether [Plaintiff’s] claims arise from the same events or course

of conduct that gives rise to the putative class members’ claims.”73 Plaintiff’s and the class

claims need not be identical. Rather, “individual claims may feature some factual variations as




    69
         Suchanek I, 764 F.3d at 757.
    70
       Mednick v. Precor, Inc., 320 F.R.D. 140, 151 (N.D. Ill. 2017). See, e.g., In re ConAgra
Foods, Inc., 90 F. Supp. 3d 919, 973 (C.D. Cal. 2015) (finding commonality where trier of fact
will determine “whether [defendant’s] ‘100% Natural’ marketing and labeling of Wesson Oil
products was false, unfair, deceptive, and/or misleading” for class exposed to “100% Natural”
labeling), aff’d sub nom. Briseno v. ConAgra Foods, Inc., 844 F.3d 1121 (9th Cir. 2017) and
aff’d sub nom. Briseno v. ConAgra Foods Inc., 674 F. App’x 654 (9th Cir. 2017).
    71
         See Ex. 15 at ¶¶ 25-40 (quantifying damages based on these theories).
    72
         Dukes, 564 U.S. at 359.
    73
         Beaton, 907 F.3d at 1026 (citation omitted).


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long as they ‘have the same essential characteristics.’”74 Plaintiff’s claims are typical because she

“saw the same representations as other users” and “[t]he class members were thus exposed to the

same message (and promises) from [Pfizer].”75 Rule 23(a)(3) is satisfied.

          Plaintiff and Her Counsel Will Adequately Protect Class Members’ Interests

          Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect

the interests of the class.”76 This requirement “consists of two parts: (1) the adequacy of the

named plaintiffs as representatives of the proposed class’s myriad members, with their differing

and separate interests, and (2) the adequacy of the proposed class counsel.”77

          The first inquiry asks if Plaintiff is “a member of the putative class and [has] the same

interest and injury as other members.”78 Plaintiff is a member of the classes she seeks to

represent as a purchaser of Maximum Strength Robitussin.79 Moreover, Plaintiff is a resident of

Illinois,80 which falls within the groupings of state laws with substantially similar elements.81

Plaintiff also paid a higher price for Maximum Strength Robitussin than the price of Regular




    74
         Id.
    75
      Id. See also Suchanek v. Sturm Foods, Inc., 311 F.R.D. 239, 255 (S.D. Ill. 2015)
(“Suchanek II”) (finding typicality where “the class members were all exposed to the exact same
course of conduct by Defendants: the marketing and packaging of [defendant’s product]”).
    76
         Fed. R. Civ. P. 23(a)(4).
    77
         Boundas, 280 F.R.D. at 412 (Feinerman, J.).
    78
         Beaton, 907 F.3d at 1027 (citation omitted).
    79
         Proffer ¶ 91.
    80
         Id. ¶ 90.
    81
       In re Checking Account Overdraft Litig., No. 1:09-MD-02036-JLK, 2012 U.S. Dist.
LEXIS 200108, at *64-65 (S.D. Fla. July 18, 2012) (“Plaintiffs have proposed discrete multi-
state subclasses for some of the state law claims, to ensure that the proposed class
representatives’ claims are materially identical to all other class members that they seek to
represent. . . . The subclasses provide additional assurance of typicality here.”).


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Strength, but did not receive the benefit of the bargain and suffered an out-of-pocket loss.82

Given that she “suffered precisely the same injury and has precisely the same interest in the

outcome of the litigation,” her claim is not “idiosyncratic or unique,” nor do her “interests . . .

conflict with those of the absent class members.”83

          Furthermore, Mrs. Al Haj is committed to pursuing the class claims. She diligently

participated in the discovery process, responding to discovery requests and appearing for her

deposition.84



                                  .”85

          Next, Hagens Berman satisfies Rule 23(g). To analyze counsel’s adequacy, this Court

should consider: “(i) the work counsel has done in identifying or investigating potential claims in

the action; (ii) counsel’s experience in handling class actions . . . ; (iii) counsel’s knowledge of

the applicable law; and (iv) the resources that counsel will commit to representing the class.”86

First, Plaintiff’s counsel has invested thousands of hours litigating this matter, defeating Pfizer’s

motion to dismiss, opposing Pfizer’s repeated jurisdictional motions, taking steps to protect the

class by the filing of an additional matter in the Southern District of New York, reviewing

approximately 213,000 pages produced by Pfizer and 13,000 pages produced by third parties,

and taking and defending depositions across three states. Second, Hagens Berman has extensive



    82
         See generally Ex. 15 at Lesch Report ¶¶ 25-40.
    83
         Bernal v. NRA Grp., LLC, 318 F.R.D. 64, 75 (N.D. Ill. 2016) (Feinerman, J.).
    84
      See, e.g., Wilkins v. Just Energy Grp., Inc., 308 F.R.D. 170, 184 (N.D. Ill. 2015) (“Wilkins
has demonstrated that she is sufficiently interested in the outcome of this case as she sat for her
deposition and responded to written discovery.”).
    85
         Proffer ¶ 98.
    86
         Fed. R. Civ. P. 23(g).


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experience handling class actions in this District and nationwide.87 Third, Plaintiff’s counsel has

extensive knowledge and experience litigating consumer fraud cases, including as to over-the-

counter drug products.88 Fourth, Plaintiff’s counsel will continue to devote the resources

necessary to prosecute this matter. Rule 23(a)(4) and Rule 23(g) are satisfied.

             VI.       COMMON QUESTIONS OF LAW OR FACT PREDOMINATE

          Rule 23(b)(3) requires that common questions of law or fact predominate.89

“Predominance is satisfied when ‘common questions represent a significant aspect of [a] case

and . . . can be resolved for all members of [a] class in a single adjudication.’”90 “[T]he court

should evaluate the evidence pragmatically . . . [to] decide whether classwide resolution would

substantially advance the case.”91 Rule 23(b)(3) “requires a showing that questions common to

the class predominate, not that those questions will be answered, on the merits, in favor of the

class.”92

          Because the “[a]nalysis of predominance under Rule 23(b)(3), begins . . . with the

elements of the underlying cause of action,” Plaintiff analyzes predominance in light of the legal




    87
      See In re Stericycle, Inc., No. 13 C 5795, 2017 U.S. Dist. LEXIS 21861, at *27 (N.D. Ill.
Feb. 16, 2017) (finding Hagens Berman “has more than ample experience to help represent the
interests of the entire class without conflict” and will “represent the interests of the class fairly
and adequately”); Ex. 75 (Firm Resume of Hagens Berman Sobol Shapiro LLP).
    88
     See Ex. 75; In re Bayer Corp. Combination Aspirin Prods. Mktg. & Sales Practices Litig.,
No. 09-MD-2023 (BMC) (JMA) ALL, 2012 U.S. Dist. LEXIS 186527, at *9 (E.D.N.Y. July 20,
2012) (appointing Hagens Berman as lead counsel in multi-state consumer fraud case
consolidated by the JPML involving two aspirin products).
    89
         Fed. R. Civ. P. 23(b)(3).
    90
      Costello v. BeavEx, Inc., 810 F.3d 1045, 1059 (7th Cir. 2016) (quoting Messner, 669 F.3d
at 815) (alterations in original), cert. denied, 137 S. Ct. 2289 (2017).
    91
         Id. (quotation omitted).
    92
         Amgen, 568 U.S. at 459 (emphasis in original).


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requirements for each of the four classes below.93 Moreover, as reflected in the Proffer, the key

evidence necessary to establish Plaintiff’s claims is common to all class members.

          Common Questions of Law or Fact Predominate for the Nationwide Class

          1.         New Jersey law applies nationwide given New Jersey’s significant
                     relationship to Project Accelerate.

          First, New Jersey’s consumer fraud law should apply to the Class. While the Court

previously concluded under Rule 12 that Illinois law governed Plaintiff’s claims,94 discovery has

since detailed that New Jersey is the state with the most significant relationship with the parties

and events of this case.95 Indeed, under the choice of law rules in Illinois, “the law of the State

that ‘retains the most significant relationship to the occurrence and the parties’ governs.”96



                            97
                                 Pfizer Consumer Healthcare maintains its principal place of business at

and distributes its Robitussin line of products from Madison, New Jersey.98




               100




    93
         Messner, 669 F.3d at 815 (quotation omitted).
    94
      Al Haj v. Pfizer Inc., No. 17 C 6730, 2018 U.S. Dist. LEXIS 62487, at *18-19 (N.D. Ill.
Apr. 13, 2018).
    95
         See Proffer § E.
    96
         Al Haj, 2018 U.S. Dist. LEXIS 62487, at *18-19.
    97
         Proffer ¶¶ 104-115.
    98
         Id. ¶ 102.
    99
         Id. ¶¶ 105, 106.
    100
          Id. ¶¶ 109, 110, 113, 114.


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                                                                             02



          The court’s analysis in Elias v. Ungar’s Food Products is instructive. In Elias, four New

York residents purchased and consumed food products sold by a New Jersey company.103 The

plaintiffs sued in New Jersey after learning that various product packaging statements were

false.104 The district court certified a nationwide class under New Jersey law because:

                New Jersey is the location of defendants’ place of business, where it
                maintains its headquarter offices, plans its product development,
                advertising, promotion, and marketing strategies, and the state where
                it manufactures and ships its products. Thus, all of the products and
                the statements about them were conceived in and emanated from New
                Jersey. Furthermore, as the source of the allegedly false statements
                are New Jersey residents, New Jersey has a strong interest in deterring
                fraudulent conduct by its domestic businesses and compensating
                consumers who are victims of such fraud, including consumers
                outside New Jersey.

                New Jersey’s interest in protecting consumers is evidenced by its
                comprehensive consumer fraud law. In fact, “[t]he available
                legislative history demonstrates that the NJCFA was intended to be
                one of the strongest consumer protection laws in the nation.”
                Furthermore, both of the cases on which Defendants
                rely, Merck and Fink, concluded that the NJCFA generally provides a
                higher level of protection for consumer-plaintiffs through measures
                that make it easier for consumer-plaintiffs to recover in lawsuits
                against businesses engaging in fraudulent practices, and thus members
                of the proposed class residing in other states will generally be
                afforded no less protection under the NJCFA than their home state,

    101
          Id. ¶¶ 57, 111, 112.
    102
          Id. ¶¶ 108, 111, 112.
    103
          Elias v. Ungar’s Food Prods., Inc., 252 F.R.D. 233, 240 (D.N.J. 2008).
    104
          Id.


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                 and, in fact, may receive greater protection. As a result, the
                 application of NJCFA does not trample upon other states’ interest in
                 protecting their consumers from fraud.[105]

Like in Elias, New Jersey has the strongest interest in applying its consumer fraud statute,

because Pfizer has “sufficient contacts with New Jersey, the essence of this cause of action

emanates from New Jersey, and New Jersey’s policy of deterring fraudulent conduct by domestic

businesses and compensating consumers who are victims of fraud by such businesses is

significantly implicated by this litigation.”106 Accordingly, this Court should find that New

Jersey law applies to the claims of the Nationwide Class.

          2.      Common questions of law predominate for the Nationwide Class.

          Common questions of law predominate for the Nationwide Class because New Jersey’s

consumer fraud law applies to all purchasers.107 For example, in Lee v. Carter-Reed Co.,

L.L.C.,108 plaintiff sued the marketer of a dietary supplement for violating the NJCFA, alleging

that the defendant’s marketing of Relacore primarily as a weight-reduction product (with the

additional benefits of lessening anxiety and elevating mood) was deceptive.109 In evaluating

predominance (and certifying a class under the NJCFA), the Lee court noted that the NJCFA

“provides relief to plaintiff and the putative class if Carter Reed engaged in the deceptive

marketing of Relacore and plaintiff and the class members suffered an ascertainable loss causally


    105
          Id. at 247 (citations omitted).
    106
      Id. at 248. See also In re Mercedes-Benz Tele-Aid Contract Litig., 257 F.R.D. 46, 67
(D.N.J. 2009) (concluding that New Jersey law applied nationwide and finding defendant’s
misrepresentations and omissions occurred in New Jersey, which was where the Tele-Aid service
was “planned and implemented” and where employees “oversaw the promotion and marketing of
Tele-Aid,” even though class members received misrepresentations in their home states).
    107
       See, e.g., Martin v. Reid, 818 F.3d 302, 308 (7th Cir. 2016) (recognizing common issues
of law predominate, and variations in state laws are irrelevant, where a single law applies).
    108
          Lee v. Carter-Reed Co., L.L.C., 4 A.3d 561, 580 (N.J. 2010).
    109
          Id. at 565.


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related to that alleged unlawful practice.”110 Similarly, with the NJCFA applying nationwide,

common questions of law predominate for the Nationwide Class.

          3.      Common questions of fact predominate for the Nationwide Class.

          Common questions of fact also predominate for the Nationwide Class. The NJCFA was

enacted to prevent “sharp practices and dealings in the marketing of merchandise . . . whereby

the consumer could be lured . . . into a purchase through fraudulent, deceptive or other similar

kind of selling or advertising practices.”111 An NJCFA claim requires: “1) unlawful conduct by

defendant; 2) an ascertainable loss by plaintiff; and 3) a causal relationship between the unlawful

conduct and the ascertainable loss.”112 Reliance is not an element.113

          Regarding the first element, the NJCFA broadly defines unlawful practices and bars:

                  [t]he act, use or employment by any person of any unconscionable
                  commercial practice, deception, fraud, false pretense, false
                  promise, misrepresentation, or the knowing, concealment,
                  suppression, or omission of any material fact with intent that others
                  rely upon such concealment, suppression or omission, in
                  connection with the sale or advertisement of any merchandise . . .
                  whether or not any person has in fact been misled, deceived or
                  damaged thereby.[114]

Here, the trier of fact will assess whether holding out Maximum Strength Robitussin as

“Maximum Strength” and “DM Max” is deceptive. To prove this element, Plaintiff and the class



    110
          Id. at 579 (citation omitted).
    111
          Daaleman v. Elizabethtown Gas Co., 390 A.2d 566, 568-69 (N.J. 1978).
    112
          Bosland v. Warnock Dodge, Inc., 964 A.2d 741, 749 (N.J. 2009).
    113
      Int’l Union of Operating Eng’rs Local No. 68 Welfare Fund v. Merck & Co., Inc., 929
A.2d 1076, 1087-88 (N.J. 2007).
    114
       N.J. Stat. § 56:8-2. Cf. Mullins v. Direct Digital, LLC, 795 F.3d 654, 673 (7th Cir. 2015)
(“Mullins’s claims . . . rise or fall on whether . . . Direct Digital’s representations were
deceptive.”); Mednick, 320 F.R.D. at 152 (“The Court thus leaves the factfinder to assess
whether the packaging of the Precor machines—which includes the SmartRate mark, the picture
of the heart, and their surrounding context—indeed broadcasts a misleading message.”).


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will present common evidence such as the product packaging, which did not vary from state to

state.115 They will also submit evidence regarding the dosage differences and active ingredient

levels between Maximum Strength Robitussin and Regular Robitussin.116
                                                                           117



          The NFCFA requires that Plaintiff prove an “ascertainable loss,” which is “a loss that is

quantifiable or measurable.”118 “To establish causation, a consumer merely needs to demonstrate

that he or she suffered an ascertainable loss as a result of the unlawful practice.”119 This requires

the defendant’s conduct to have been “a cause of damages,” not “the sole cause of loss.”120

Again, Lee is instructive.121 In Lee, the court explained that under the NJCFA, even in cases

where multiple deceptive statements were at issue, “a trier of fact may infer the causal

relationship between the unlawful practice—the multiple deceptions—and the ascertainable

losses, the purchases of the worthless product.”122 Thus, in evaluating an allegedly deceptively

sold dietary supplement, the court concluded that the ascertainable loss was “the purchase price

of a bottle of broken promises. Each purchase of Relacore—not refunded—is an out-of-pocket

loss.”123 The court thus found that common questions predominated as to the fact of purchase.




    115
          Proffer ¶ 17.
    116
          Id. ¶ 13.
    117
          Id. §§ II.B.1-3, II.C.
    118
          Lee, 4 A.3d at 576-77.
    119
          Id. at 577 (quotation and citation omitted) (emphasis added).
    120
          Varacallo v. Mass. Mut. Life Ins., 752 A.2d 807, 816-17 (N.J. Super. Ct. App. Div. 2000).
    121
          Lee, 4 A.3d at 580.
    122
          Id. at 580.
    123
          Id. (citing Thiedemann, 183 N.J. at 248, 872 A.2d 783).


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            Like in Lee, Mrs. Al Haj will use common evidence to show that the losses suffered by

Plaintiff and the class resulted from Pfizer’s deceptive conduct, particularly since causation

focuses on whether the act “has the capacity to mislead the average consumer.”124 Indeed, there

are several conclusions a factfinder could reach regarding an average consumer’s expectations:

           “[I]t is at least plausible that a reasonable consumer would construe an assertion about a
            product’s relative strength (‘Regular’ vs. ‘Maximum’) as one that concerns the product’s
            relative potency and therefore that depends on the concentration of the product’s active
            ingredients, not the total quantity consumed.”125

           “It is therefore at least plausible that a reasonable consumer would expect that Maximum
            Strength Robitussin contains more DXM Hbr and guaifenesin per unit of volume than
            does Regular Strength Robitussin.”126

           “[I]t is at least plausible that a reasonable consumer would not expect that a product is
            fairly represented as ‘Maximum Strength,’ and is properly priced higher than its ‘Regular
            Strength’ cousin, if the consumer gets more of its active ingredients only by consuming
            more of it.”127

           “[A] reasonable consumer could ascertain the key information about Robitussin—that the
            Maximum Strength version contained a lower concentration of DXM Hbr and the same
            concentration of guaifenesin as the Regular Strength version—only by taking two
            products off the shelf and comparing their labels . . . it is not reasonable to expect a
            consumer to cross-check a product’s ingredient list against another product’s list and then
            perform arithmetic to make sure she is comparing equivalent dosage volumes, all to
            ensure that the product she intends to purchase has the qualities it purports to have.”128

Not one of these conclusions would vary from class member to class member.


      124
        Union Ink Co., Inc. v. AT&T Corp., 801 A.2d 361, 379 (N.J. Super. Ct. App. Div. 2002)
(emphasis added). See also N.J. Model Civil Jury Charges § 4.43 (“It is not necessary that a
person has in fact been misled or deceived by another’s conduct, nor is it necessary for the
plaintiff to show that the defendant intended that his/her conduct should deceive.”); id.
(‘“Deception’ is conduct/advertisement misleading to an average consumer to the extent that it is
capable of, and likely to, mislead an average consumer.”).
      125
       Al Haj, 2018 U.S. Dist. LEXIS 62487, at *22-23 (emphasis in original). See also Proffer
¶¶ 61, 64, 67, 68, 69, 79.
      126
            Al Haj, 2018 U.S. Dist. LEXIS 62487, at *23-24. See also Proffer ¶¶ 61, 64, 67, 68, 69,
79.
      127
            Al Haj, 2018 U.S. Dist. LEXIS 62487, at *24. See also Proffer ¶¶ 61, 64, 67, 68, 69, 79.
      128
            Al Haj, 2018 U.S. Dist. LEXIS 62487, at *25-27. See also Proffer ¶¶ 51, 54, 55, 79, 93.


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          Finally, with respect to calculating damages, the loss here is measurable as full refund

damages129 or benefit-of-the-bargain damages, because the “‘consumer receive[d] less than what

was promised.’”130
                                                                                   131
                                                                                         Common

questions predominate for the Nationwide Class.

          Alternatively, Common Questions of Law or Fact Predominate for the Consumer
          Protection Multi-State Class

          In the alternative, certification of the Consumer Protection Multi-State Class is

warranted. The 14 jurisdictions within the multi-state class employ essentially identical

consumer fraud standards; that is, each state uses that same objective standard for the “central”

element of deception—a “reasonable consumer” test.132 While the precise phrasing of each

standard may vary slightly, in substance they do not. Thus, a jury can use the same evidence to

answer the same question, resolving this threshold liability issue following one trial.

          Further, the standards for causation bear substantial similarities, permitting them to be

divided into two groups for the purposes of instructing the jury. And because no state requires

individualized proof of reliance, the same body of common evidence can satisfy each state’s

standard for causation and any variations between standards will only affect jury instructions—




    129
          N.J. Stat. § 56:8-2.11.
    130
       Smajlaj v. Campbell Soup Co., 782 F. Supp. 2d 84, 99, 102 (D.N.J. 2011) (quoting Union
Ink, 801 A.2d at 379); see also Thiedemann v. Mercedes-Benz USA, LLC, 872 A.2d 783, 793
(N.J. 2005).
    131
          See infra § VI.E.
    132
       Suchanek III, 2017 U.S. Dist. LEXIS 138016, at *39; Messner, 669 F.3d at 815; Pella
Corp. v. Saltzman, 606 F.3d 391, 393 (7th Cir. 2010). See Ex. 77 (Survey of prohibited acts
under laws in multi-state class); Ex. 79 (Exemplar Proposed Jury Instructions for Multi-State
Consumer Protection and Unjust Enrichment Claims); and Ex. 80 (Exemplar Special Verdict
Form for Multi-State Consumer Protection and Unjust Enrichment Claims).


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not Plaintiff’s ability to conduct a single trial. Such efficiencies are the very reason class actions

exist.133 Indeed, courts in this circuit have certified multi-state classes just like the one presented

here, where state consumer protection laws all ask whether the defendant’s conduct would likely

deceive a reasonable consumer.134 Certification is just as appropriate here.

          1.      Each state employs nearly identical objective standards for deception.

          All of the states within the proposed multi-state class “prohibit, in one phrasing or

another, unfair, fraudulent, or deceptive practices in the course of trade or commerce.”135 These

similarities are not by chance; most states have modeled their consumer statutes on the Federal

Trade Commission Act.136 As a result, the elements and standards bear substantive similarities

and there are essentially “three central elements” to any consumer fraud claim: deception,

causation, and damages.137 The first element, deception, is both the “threshold” question of

liability and “the most significant element” of the claims.138 The states making up the multi-state

class all define a deceptive act using the same “reasonable consumer” or “likely to mislead” test.

In California, for example, the test asks whether “it is probable that a significant portion of the


    133
          See Amchem, 521 U.S. at 617; Suchanek I, 764 F.3d at 759.
    134
        See, e.g., Mullins, 795 F.3d at 673 (affirming multi-state certification of 10 similar
consumer protection statutes because plaintiff’s claims will “rise or fall on whether [defendant’s]
representations were deceptive”); Suchanek I, 764 F.3d at 757 (reversing the district court
certification denial because “the question whether the [defendant’s] packaging was likely to
deceive a reasonable consumer is common”); Mednick, 320 F.R.D. at 156-57 (certifying multi-
state consumer fraud class as “the question then is whether the legal rules of the relevant states
are sufficiently ‘the same’ in this case” and because the statutes “share sufficient common
characteristics that class certification as to the issue of liability is appropriate”).
    135
       Muir v. Nature’s Bounty (De), Inc., No. 15 C 9835, 2018 U.S. Dist. LEXIS 128738, at
*25-26 (N.D. Ill. Aug. 1, 2018). See also Ex. 77 (Survey of prohibited acts under multi-state
laws).
    136
      Suchanek v. Sturm Foods, Inc., No. 11-CV-565-NJR-RJD, 2018 U.S. Dist. LEXIS
213658, at *14 (S.D. Ill. July 3, 2018) (“Suchanek IV”).
    137
          Suchanek III, 2017 U.S. Dist. LEXIS 138016, at *39.
    138
          Id.


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general consuming public or of targeted consumers, acting reasonably in the circumstances,

could be misled [by defendant’s representations].”139 In D.C., the trier of fact analyzes a

deceptive act “in terms of how the practice would be viewed and understood by a reasonable

consumer.”140 And in Florida, courts ask “whether the practice was likely to deceive a consumer

acting reasonably.”141 The other 11 states’ standards are in accord.142




    139
          Lavie v. Procter & Gamble Co., 129 Cal. Rptr. 2d 486, 495 (Cal. Ct. App. 2003).
    140
          Whiting v. AARP, 701 F. Supp. 2d 21, 29 (D.D.C. 2010), aff’d, 637 F.3d 355 (D.C. Cir.
2011).
    141
          Carriuolo v. Gen. Motors Co., 823 F.3d 977, 984 (11th Cir. 2016).
    142
        Rhino Linings USA, Inc. v. Rocky Mt. Rhino Lining, Inc., 62 P.3d 142, 148 (Colo. 2003)
(defining a deceptive act as “a misrepresentation . . . [with] the capacity or tendency to deceive,
even if it did not”); Bober v. Glaxo Wellcome PLC, 246 F.3d 934, 938 (7th Cir. 2001) (“Under
the CFA, a statement is deceptive if it creates a likelihood of deception or has the capacity to
deceive.”) (interpreting Illinois law); Aspinall v. Philip Morris Cos., 813 N.E.2d 476, 488 (Mass.
2004) (defining a deceptive act as having a “capacity to mislead consumers, acting reasonably
under the circumstances”); Dix v. Am. Bankers Life Assur. Co. of Fla., 415 N.W.2d 206, 209
(Mich. 1987) (“It is sufficient if the class can establish that a reasonable person would have
relied on the representations.”); State by Humphrey v. Directory Publ’g Servs., Inc., No. C1-95-
1470, 1996 WL 12674, at *4 (Minn. Ct. App. Jan. 16, 1996) (consumer protection statute
prohibits representations with a “tendency or capacity to deceive”); 15 Mo. Code Regs. § 60-
9.020 (“Deception is any method, act, use, practice, advertisement or solicitation that has the
tendency or capacity to mislead . . . .”); Chroniak v. Golden Inv. Corp., 983 F.2d 1140, 1146 (1st
Cir. 1993) (“A practice may be ‘deceptive’. . . if it could reasonably be found to have caused a
person to act differently from the way he otherwise would have acted.”) (interpreting New
Hampshire law); Sauro v. L.A. Fitness Int’l, LLC, No. CIV. 12-3682 JBS/AMD, 2013 WL
978807, at *5 (D.N.J. Feb. 13, 2013) (“For an alleged deceptive act to be actionable, courts
consider whether the act has the capacity to mislead the average consumer.”); Smoot v.
Physicians Life Ins. Co., 87 P.3d 545, 550 (N.M. Ct. App. 2003) (New Mexico “does not require
that the defendant’s conduct actually deceive a consumer; it permits recovery even if the conduct
only ‘tends to deceive.’”); Matter of Food Parade, Inc. v. Office of Consumer Affairs of Cty. of
Nassau, 859 N.E.2d 473, 477 (N.Y. 2006) (The “objective standard . . . asks whether the
‘representation or omission [was] likely to mislead a reasonable consumer acting reasonably
under the circumstances . . . .’”); Peterson v. Kitsap Cmty. Fed. Credit Union, 287 P.3d 27, 37-
38 (Wash. Ct. App. 2012) (a deceptive practice has “the capacity to deceive a substantial portion
of the public”). See also Exs. 77, 79, 80 (survey of state law, exemplar jury instructions, and
exemplar special verdict form).


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Evidence of this nature routinely satisfies the consumer fraud standards Plaintiff seeks to meet.

          In Hadley v. Kellogg Sales Company, a consumer plaintiff proffered the same type of

evidence to prove a violation of California’s consumer fraud act. The plaintiff alleged Kellogg’s

use of the terms “healthy,” “nutritious,” or “wholesome” misled consumers where the products

contained excess added sugar.148 At class certification, the plaintiff relied on “Kellogg’s own

internal documents [to] show that Kellogg deliberately crafted and displayed these challenged

health statements—after years of meticulously studying consumer behavior and preferences in the

cereal market—as part of a full-scale advertising and marketing push to increase sales.”149 Over

Kellogg’s objections as to the evidence proffered, the district court certified the class, noting the

internal documents and studies sufficed, as “courts have explicitly rejected the view that a plaintiff

must produce extrinsic evidence” to meet the standard.150

          Further, not only does such evidence suffice, it will not vary. For this reason, the court

certified a multi-state class in Suchanek v. Sturm Foods, Inc. In Suchanek I, the plaintiffs alleged

the defendant misrepresented that its single use coffee pods contained microground coffee when

they in fact “contained over 95% instant coffee with only a tiny bit of microground coffee mixed




    148
      Hadley v. Kellogg Sales Co., No. 16-CV-04955, 2018 WL 3954587, at *1-2 (N.D. Cal.
Aug. 17, 2018).
    149
          Id. at *20 (internal quotations omitted).
    150
       Id.; see also In re ConAgra Foods, Inc., 90 F. Supp. 3d at 1018 (deceptiveness and
materiality of a “100% Natural” claim on defendant’s label can “be inferred from [its] internal
strategy documents” because they tend to show that “consumers find the ‘100% Natural’ claim
material to their purchasing decisions”); Carriuolo, 823 F.3d at 985-86 (“Because a plaintiff . . .
need not show actual reliance . . . [defendant] is incorrect to suggest that the plaintiffs must prove
that every class member saw the sticker and was subjectively deceived by it. . . . [T]he factfinder
must only determine whether [the statement] would deceive an objectively reasonable
observer . . . .”).


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in.”151 Plaintiffs moved to certify a multi-state consumer fraud class consisting of eight states.152

The Seventh Circuit reversed the denial of that motion, noting that “[a]ll of the applicable state

consumer protection laws at issue here may be satisfied by proof that a statement is likely to

mislead a reasonable consumer, even if the statement is literally true.”153 On remand, the district

court certified the class, noting the class-wide issue “turns on whether [the misrepresentation]

was likely to deceive a reasonable consumer,” which “is identical across every class member

because all of the applicable consumer protection statutes require proof that [the statement] was

likely to mislead a reasonable consumer.”154 The district court explained that “it would be

extraordinarily duplicative and wasteful of the time and resources of both the Court and the

parties to litigate this question in individual cases” because the proof would be the same.155

            Similarly, the standard for deception can be handled through a single jury instruction,

querying whether Pfizer’s conduct was “likely to mislead”156 or had “the tendency or capacity

to”157 deceive a reasonable consumer.158 The jury could thus resolve the issue for the entire

multi-state class. At that point, the jury could then turn to the issue of causation.




      151
            Suchanek I, 764 F.3d at 753.
      152
            Id. at 755.
      153
            Id. at 761-62.
      154
            Suchanek II, 311 F.R.D. at 259.
      155
            Id.
      156
     California, Florida, Massachusetts, Michigan, New Hampshire, New York, and
Washington, D.C. See supra nn.139-142.
      157
            Colorado, Illinois, Minnesota, Missouri, New Jersey, New Mexico, and Washington. See
id.
      158
      See Ex. 79 (Exemplar Proposed Jury Instructions for Multi-State Consumer Protection
and Unjust Enrichment Claims), Ex. 80 (Exemplar Special Verdict Form for Multi-State
Consumer Protection and Unjust Enrichment Claims).


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          3.      The issue of causation may be resolved in a multi-state class by grouping the
                  states into two categories.

          The multi-state class is likewise amenable to class-wide resolution on the issue of

causation because no state requires proof of individual reliance. Instead, the states’ causation

standards can be divided into two groups: (1) states with an objective materiality or reasonable

person standard for causation (California, Florida, Massachusetts, Michigan, Washington, D.C.);

or (2) states with “ascertainable loss” or proximate cause standards (Colorado, Illinois,

Minnesota, Missouri, New Hampshire, New Jersey, New Mexico, New York, Washington).159

Each standard can be met using common evidence because they do not require proof of an

individual’s reliance, subjective mindset, or purchasing decision. Thus, the only impact on a trial

would again be the submission of appropriate jury instructions.

          First, for a number of states, the causation inquiry mirrors the objective “reasonable

person” inquiry. Florida, Massachusetts, Michigan, and Washington, D.C. subsume the causation

inquiry in the reasonable person standard for deception.160 California differs only in that it adds a

materiality aspect: “[c]ausation as to each class member is commonly proved more likely than

not” by asking whether the misrepresentation “would have been material to any reasonable


    159
       See Exs. 77, 79, 80 (survey of state law, exemplar jury instructions and special verdict
form). In the event that this Court decides to certify a multi-state class and seeks class
representatives for each grouping, a motion for intervention has been separately filed.
    160
         Carriuolo, 823 F.3d at 984 (“Under Florida law, an objective test is employed in
determining whether the practice was likely to deceive a consumer acting reasonably. That is, a
party asserting a deceptive trade practice claim need not show actual reliance on the
representation or omission at issue.”) (internal quotations omitted); Casavant v. Norwegian
Cruise Line, Ltd., 919 N.E.2d 165, 169 (Mass. Ct. App. 2009) (“Causation is established if the
deception could reasonably be found to have caused a person to act differently from the way he
or she otherwise would have acted.”) (internal quotations omitted); Dix, 415 N.W.2d at 209
(“We hold that members of a class . . . need not individually prove reliance . . . . It is sufficient
. . . that a reasonable person would have relied on the representations.”); Wells v. Allstate Ins.
Co., 210 F.R.D. 1, 9 (D.D.C. 2002) (“[I]t follows that the element of causation could also be
proven through the same ‘reasonable person’ standard.”).


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purchaser.”161 Given that these standards ask the jury to resolve the same question as the

deception inquiry, the evidence will not differ and common questions predominate.

          Second, for the remaining states—Colorado, Illinois, Minnesota, Missouri, New

Hampshire, New Jersey, New Mexico, New York, and Washington—a plaintiff need only

establish a causal link between the injury and Pfizer’s conduct.162 For these states, each class

member need not prove that s/he relied on the misrepresentation to recover; instead, it suffices

that “a plaintiff’s loss should be a result of the defendant’s unlawful practice, [not] that the

purchase be caused by the unlawful practice.”163




    161
      Mass. Mut. Life Ins. Co. v. Superior Court, 97 Cal. App. 4th 1282, 119 Cal. Rptr. 2d 190
(2002), as modified on denial of reh’g (May 29, 2002).
    162
        See Garcia v. Medved Chevrolet, Inc., 263 P.3d 92, 100 (Colo. 2011) (an inference of
reliance may be established by circumstantial evidence, that may be rebutted with evidence from
defendant); Connick v. Suzuki Motor Co., 174 Ill. 2d 482, 501 (1996) (“Plaintiff’s reliance is not
an element . . . but a valid claim must show that the consumer fraud proximately caused
plaintiff’s injury.”); Plubell, 289 S.W.3d at 714 (plaintiffs need only show the misrepresentation
resulted in a loss to plaintiffs, not that it caused the purchase); Mulligan v. Choice Mortg. Corp.
USA, No. CIV. 96-596-B, 1998 WL 544431, at *11 (D.N.H. Aug. 11, 1998) (“A CPA plaintiff
need only establish a causal link between the conduct at issue and his or her injury.”); Int’l Union
of Operating Eng’rs, 929 A.2d at 1086 (“Our statute essentially replaces reliance, an element of
proof traditional to any fraud claim, with the requirement that plaintiff prove ascertainable
loss.”); Smoot, 87 P.3d at 550 (“Causation requires a nexus between a defendant’s conduct and a
plaintiff’s loss . . . .”); Rodriguez v. It’s Just Lunch, Int’l, 300 F.R.D. 125, 147 (S.D.N.Y. 2014)
(“Nothing more is required than that a plaintiff suffer a loss because of defendant’s deceptive
act” and what plaintiffs may prove “through classwide evidence regarding [defendant’s]
allegedly illegal policy and plaintiffs’ monetary losses.”) (internal citations and quotations
omitted); In re St. Jude Med., Inc., 522 F.3d 836, 840 (8th Cir. 2008) (plaintiff may prove
causation by circumstantial evidence of “some” consumer reliance, which defendant can rebut
with evidence); Schnall v. AT&T Wireless Servs., Inc., 259 P.3d 129, 137-38 (Wash. 2011)
(“[T]he proximate cause standard embodied in [the Washington Pattern Jury Instructions] is
required to establish the causation element in a CPA claim.”).
    163
          Plubell, 289 S.W.3d at 714 (emphasis in original).


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          States frequently just borrow the definition of proximate cause from negligence law to

instruct the jury.164 But as a practical matter, the inquiry remains substantively the same. And in

all instances, plaintiffs may establish causation “using common proof.”165 For example, Plaintiff

can establish “the necessary ‘causal nexus’ between their ascertainable loss and the alleged

misrepresentation[]” by showing that the class “did not get what they paid for,”166 or using

evidence “tending to show the materiality of the misleading marketing” or that demonstrates

very few “informed purchasers would have bought the product.”167

          Importantly, differences in causation standards will not require separate trials, and any

complexities are offset by the efficiencies gained by the class action mechanism. As explained in

Suchanek II, “[i]ndividual litigation is not even a realistic alternative.”168 In fact, the Suchanek IV

court demonstrates firsthand the manageability and superiority of a multi-state class action, having

proposed a trial plan that first addresses the issue of deception to a reasonable consumer and then,

if necessary, proceeds to causation and damages.169 Because the multi-state class contains states

with sufficiently similar laws and standards, common issues predominate.




    164
       See, e.g., Connick, 174 Ill. 2d at 501; Schnall, 259 P.3d at 137-38; see also N.J. Civ. Jury
Instructions § 4.43; N.M. Uniform Civ. Jury Instructions, Rule 13-1707.
    165
          In re Mercedes-Benz Tele Aid Contract Litig., 257 F.R.D. at 74; see also supra n.162.
    166
      See id.; see also Rodriguez, 300 F.R.D. at 147 (plaintiffs may prove causation “through
classwide evidence regarding [defendant’s conduct] and plaintiffs’ monetary losses”).
    167
          Langendorf v. Skinnygirl Cocktails, LLC, 306 F.R.D. 574, 583 (N.D. Ill. 2014).
    168
          Suchanek II, 311 F.R.D. at 259.
    169
          See Suchanek IV, 2018 U.S. Dist. LEXIS 213658, at *46-47.


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          Common Questions of Law Predominate for the Claims of the Unjust Enrichment
          Multi-State Class

          Courts “commonly certify claims of unjust enrichment for class treatment in cases like

this one where defendant acted in the same manner toward every class member.”170 Plaintiff

seeks to certify a class of eight jurisdictions with the same elements of a cause of action for

unjust enrichment (Arkansas, Colorado, Connecticut, District of Columbia, Illinois, Iowa,

Missouri, New Mexico and New York). As these jurisdictions apply common elements, common

questions of law predominate.171 Each of these jurisdictions requires proof of three elements:

(1) the plaintiff conferred a benefit on the defendant, (2) the defendant retained the benefit and

(3) the defendant’s retention of the benefit would be unjust.172

          On top of this, common questions of fact predominate. Each class member’s claim results

from a single act: Pfizer’s decision to reduce the level of active ingredients in Maximum

Strength Robitussin to a level lower than Regular Robitussin.173 Common questions of fact

regarding benefit and transfer exist because these elements can be proven through common
                              74
evidence                           And the amount of profits that Pfizer “reaped because of [its


    170
          Bowe v. Pub. Storage, 318 F.R.D. 160, 184 (S.D. Fla. 2015).
    171
        See, e.g., Fenwick v. Ranbaxy Pharms., Inc., No. 3:12-cv-07354 (PGS)(DEA), 2018 U.S.
Dist. LEXIS 194780, at *37 (D.N.J. Nov. 13, 2018) (“[M]any courts have determined that unjust
enrichment laws do not vary in any substantive manner from state to state.”) (quotation and
citation omitted); In re Checking Account Overdraft Litig., 307 F.R.D. 656, 675 (S.D. Fla. 2015)
(“There is general agreement among courts that the minor variations in the elements of unjust
enrichment under the laws of the various states . . . are not material and do not create an actual
conflict.”) (quotation and citation omitted).
    172
          See generally Ex. 78 (survey of unjust enrichment law).
    173
       See Barnes, 310 F.R.D. at 559 (certifying unjust enrichment claim where “each putative
class member’s claim arises from a single decision, [defendant’s] decision to accept dues and
contract maintenance fees from pilots whom it did not represent, and the answer to the question
whether [defendant] unjustly enriched itself will be the same for all putative class members”).
    174
      Proffer ¶¶ 73-75; Ex. 15 at Lesch Report ¶¶ 20, 25, 31, 35, 43, 45. Cf. Rodriguez, 300
F.R.D. at 147 (finding plaintiffs would be able to use common evidence of defendants’ billing


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conduct]” can also be demonstrated using calculations measured by Plaintiff’s damages

expert.175 Common issues predominate for the Unjust Enrichment Multi-State Class.

          Common Questions of Law Predominate for the Illinois Subclass

          In the alternative, should the Court decline to certify the Nationwide Class or either

multi-state class, Plaintiff requests that the Court certify a single state class under Illinois law.

Applying only one state’s law means common legal questions necessarily predominate.176

          Under the Illinois Consumer Fraud Act, a plaintiff must prove: (1) a deceptive act;

(2) defendant’s intent for plaintiff to rely on the deception; (3) the deception occurred in the

course of conduct involving trade or commerce; (4) actual damages; and (5) proximate

causation.177 Like the other jurisdictions, Illinois also employs a “reasonable consumer”

standard, which remains susceptible to common proof.178 As for the second and third elements,

evidence will necessarily be common, focusing solely on Defendant’s conduct. For example, in

Mullins, the plaintiff alleged the defendant misrepresented that it clinically tested certain health

benefits of its product. To meet the first three elements of the ICFA, the purchaser relied largely on

“internal documents reflecting Defendant’s awareness that it did not have clinical support for the

ingredients . . . .”179 Affirming class certification, the Seventh Circuit explained, under the



practice to demonstrate unjust enrichment); Downing v. Riceland Foods, Inc., No. 4:13CV321
CDP, 2015 U.S. Dist. LEXIS 34154, at *23 (E.D. Mo. Mar. 19, 2015) (finding common issues of
fact predominated where the issues of “what [defendant] did and what benefit it received” were
common).
    175
          In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 698 (S.D. Fla. 2004).
    176
          See Martin, 818 F.3d at 308.
    177
          Dubey v. Pub. Storage, Inc., 395 Ill. App. 3d 342, 353 (2009).
    178
      Mullins, 795 F.3d at 673; Suchanek II, 311 F.R.D. at 259 (“This question is particularly
appropriate for class-wide resolution.”).
    179
      Pls.’ Mem. Supp. Class Cert., Mullins v. Direct Digital, LLC, No. 13-CV-01829, 2014 WL
10270706 (N.D. Ill. Feb. 18, 2014).


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reasonable consumer standard, the case presented “a common question: Were the statements false

or misleading?”180 Thus, the “claims do not rise or fall on whether individual consumers

experienced health benefits, . . . [but] on whether [the] representations were deceptive.”181

          Regarding injury and causation, Illinois employs a “proximate cause” standard. The

required allegation of proximate cause is minimal and satisfied where the misleading statements

occurred prior to the purchases.182 A court’s analysis of causation focuses on two prongs:

(1) whether damages can be reasonably estimated; and (2) if so, then it should examine the

superiority and predominance issues in conjunction.183 With respect to superiority, “the court needs

to assess the difficulty and complexity of the class-wide issues as compared with the individual

issues.”184 While it often requires significant expense to prove class issues, it conversely “would be

a straightforward matter for each purchaser to present her evidence on reliance and causation.”185

Thus, a “court might conclude . . . that the class device is superior, because no rational individual

plaintiff would be willing to bear the costs of this lawsuit.”186

          Likewise, under Illinois unjust enrichment law, class members will each be required to

show that Pfizer “has unjustly retained a benefit to the plaintiffs detriment, and that defendant’s

retention of the benefit violates the fundamental principles of justice, equity, and good



    180
          Mullins, 795 F.3d at 673.
    181
          Id.
    182
          Al Haj, 2018 U.S. Dist. LEXIS 62487, at *27.
    182
       Connick, 675 N.E.2d at 595. Common evidence will satisfy this as the representations at
issue appeared on the front of each package.
    183
          See Suchanek I, 764 F.3d at 759-61.
    184
          Id. at 760.
    185
          Id.
    186
        Id. See also Suchanek II, 311 F.R.D. at 259 (certifying the class because “[i]ndividual
litigation is not even a realistic alternative”).


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conscience.”187 These are all elements provable class-wide and will use the same evidence that

Plaintiff would submit on behalf of the Unjust Enrichment Multi-State Class. Common questions

predominate.

          Plaintiff’s Method for Calculating Damages Satisfies Comcast

          Under Comcast, “a damages suit cannot be certified to proceed as a class action unless

the damages sought are the result of the class-wide injury that the suit alleges” and are

susceptible of measurement “on a class-wide basis through use of a common methodology.”188

Plaintiff satisfies Comcast since she alleges damages theories—benefit of the bargain, out-of-

pocket loss, and disgorgement of profits—tied to each claim that can be measured class-wide.

          Plaintiff retained Joel Lesch, a Certified Public Accountant and Certified Fraud Auditor

with experience calculating damages, to (1) determine whether damages were capable of being

measured class-wide, and (2) evaluate whether that methodology could be implemented based on

available data.189 In

                                                                                                 .190

Based on his review of the materials, Mr. Lesch concluded that damages to the classes are

capable of being calculated on a class-wide basis using common evidence.




    187
          Apollo Real Estate Inv. Fund, IV, L.P. v. Gelber, 398 Ill. App. 3d 773, 787 (2009).
    188
      Butler v. Sears, Roebuck & Co., 727 F.3d 796, 799 (7th Cir. 2013) (quoting Comcast
Corp. v. Beherend, 133 S. Ct. 1426, 1430 (2013)).
    189
          Ex. 15 at ¶ 4.
    190
          Id. ¶ 20.


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          First, for the Nationwide Class, Mr. Lesch calculated refund damages under N.J. Stat.

§ 56:8-2.11.
                                                                                            191



          Second, Mr. Lesch considered the two alternative measurements for damages under state

consumer protection acts—benefit-of-the-bargain damages and out-of-pocket loss.192 Courts

accept both “in state consumer protection actions to put defrauded consumers in the position they

would have been had they received that which they bargained for.”193

          First, benefit-of-the-bargain “damages ensure that the defrauded party is . . . placed in the

same financial position he would have occupied had the misrepresentations in fact been true.” 194

The measurement for benefit-of-the-bargain damages is “the difference between the product’s

value if the misrepresentations had been true and the product’s true value.”195 Mr. Lesch

measured the difference between the value of Maximum Strength Robitussin as represented and

the value as sold.196




    191
       Ex. 15 at ¶¶ 35, 38. See Kleen Prods. LLC v. Int’l Paper Co., 831 F.3d 919, 929 (7th Cir.
2016) (“[P]laintiffs are permitted to use estimates and analysis to calculate a reasonable
approximation of their damages.”) (citation omitted); Lawrence E. Jaffe Pension Plan v.
Household Int’l, Inc., 756 F. Supp. 2d 928, 934 (N.D. Ill. 2010) (recognizing damages “need not
be calculated with mathematical precision”) (citation omitted).
    192
          Ex. 15 at ¶¶ 15, 16.
    193
       In re Bayer Corp. Combination Aspirin Prods. Mktg. & Sales Practices Litig., 701 F.
Supp. 2d 356, 383 (E.D.N.Y. 2010). See also Ex. 76 (survey of states utilizing benefit-of-the-
bargain theory and/or out-of-pocket loss theories).
    194
       Lipton v. Chattem, Inc., No. 11 C 2952, 2012 U.S. Dist. LEXIS 49828, at *11-12 (N.D.
Ill. Apr. 10, 2012) (Feinerman, J.) (quotations and citations omitted, alteration in original).
    195
          Id.
    196
          Ex. 15 at ¶ 28.


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                                                                                      198



          Second, under the out-of-pocket measure, “damages are defined as the difference

between the purchase price and the price that would have been received but for the alleged

fraud.”199 Mr. Lesch measured the difference between the price paid for Maximum Strength

Robitussin and the actual value of the product.




                                                                                            201



          Next, “[d]isgorgement of profits is an appropriate remedy for an unjust enrichment

claim,” which “seeks to disgorge a benefit that the defendant unjustly retains.”202




    197
          Id.
    198
      Id. ¶¶ 38, 40. Mr. Lesch demonstrates that damages can be calculated for each state—and
thus modified to conform to the states that the Court ultimately certifies.
    199
        Lawrence E. Jaffe Pension Plan, 756 F. Supp. 2d at 934 (citing Harris Trust & Sav. Bank
v. Ellis, 810 F.2d 700, 706-07 (7th Cir. 1987)).
    200
          Ex. 15 at ¶ 29.
    201
        Id. ¶ 40. See, e.g., Suchanek I, 764 F.3d at 760 (“[D]amages might be computed by taking
the difference between the actual value of the package . . . and the inflated price she paid[.]”).
    202
       Stavropoulos v. Hewlett-Packard Co., No. 13 C 5084, 2014 U.S. Dist. LEXIS 173964, at
*14 (N.D. Ill. Dec. 17, 2014) (quoting Blythe Holdings, Inc. v. DeAngelis, 750 F.3d 653, 658
(7th Cir. 2014)).
    203
          Ex. 15 at Lesch Report ¶¶ 42-50.


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                                   Damages are susceptible of class-wide measurement.

               VII.    A CLASS ACTION IS SUPERIOR TO INDIVIDUAL CASES

          This case satisfies Rule 23(b)(3)’s superiority requirement as it is superior to other

available methods for fairly and efficiently adjudicating the controversy.207 First, “‘the class

members’ interests in individually controlling the prosecution or defense of separate actions,’

Fed. R. Civ. P. 23(b)(3)(A), are minimal, as the amount at stake for each class member is very

small.”208 However, damages in the aggregate here are substantial.209 This favors certification.

          Second, one other class action has been filed challenging Defendant’s conduct.210

However, Plaintiff’s counsel in this case filed Woodhams only after this Court dismissed

Woodhams on personal jurisdiction grounds without prejudice.211 And the plaintiffs in

Woodhams have sought a stay of that action under the first-filed rule so that this action may

proceed. This factor also favors class certification.




    204
          Id. ¶¶ 42, 46.
    205
          Id. ¶¶ 42, 44, 46, 47, 48.
    206
          Id. ¶ 52.
    207
          Fed. R. Civ. P. 23(b)(3).
    208
       Boundas, 280 F.R.D. at 417. See also Carnegie v. Household Int’l, Inc., 376 F.3d 656,
661 (7th Cir. 2004) (“The realistic alternative to a class action is not 17 million individual suits,
but zero individual suits, as only a lunatic or a fanatic sues for $30.”) (emphasis in original).
    209
       See generally Ex. 15 (Lesch Report). See Murray v. GMAC Mortg. Corp., 434 F.3d 948,
953 (7th Cir. 2006) (“Rule 23(b)(3) was designed for situations . . . in which the potential
recovery is too slight to support individual suits, but injury is substantial in the aggregate.”).
    210
          See Woodhams, et al. v. Pfizer, No. 1:18-CV-03990-JPO (S.D.N.Y.).
    211
          See Al Haj, 2018 U.S. Dist. LEXIS 62487, at *18.


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          Finally, there is no risk that the classes will be unmanageable.212 “Parallel litigation for

each class member here would entail the same discovery and require multiple courts to weigh the

same factual and legal bases for recovery,” a situation that this Court has recognized “would

make no sense.”213 Because of the uniformity of the law applicable at a class trial, the case will

be manageable.214 But even “[i]f faced with what appear to be unusually difficult manageability

problems at the certification stage,” this Court has a wide variety of tools and methods for

managing a certified class.215 A class action is the superior method for adjudication.

                         VIII. THE CLASS IS OBJECTIVELY DEFINED

          Additionally, Plaintiff’s proposed classes are objectively defined and “definite enough

that the class can be ascertained.”216 Here, the class definitions focus on the purchase of

Maximum Strength Robitussin, a particular, readily identifiable product.217 As a result, the class

is objectively defined and thus ascertainable.218




    212
          Fed. R. Civ. P. 23(b)(3)(D).
    213
          Barnes, 310 F.R.D. at 562.
    214
       See Exs. 76-78 (state law charts); Ex. 79 (Exemplar Proposed Jury Instructions for Multi-
State Consumer Protection and Unjust Enrichment Claims); Ex. 80 (sample verdict forms). See
also Fed. R. Civ. P. 49; MANUAL FOR COMPLEX LITIGATION (FOURTH) § 11.633 (2009) (“Special
verdict forms or interrogatories may help the jury focus on the issues, reduce the length and
complexity of the instructions, and minimize the need for, or scope of, retrial in the event of
reversible error. [They] may also be used in connection with a procedure by which issues are
submitted to the jury sequentially. The jury may be asked to consider a threshold or dispositive
issue and return its verdict before submission of other issues, which may be rendered moot by
the verdict.”). See generally supra § VI.
    215
          Mullins, 795 F.3d at 664.
    216
          Barnes, 310 F.R.D. 551 at 556. See also Mullins, 795 F.3d at 660-61.
    217
          Proffer ¶¶ 15, 16, 17, 18.
    218
        Furthermore, with an eye toward providing notice and/or distributions, Plaintiff secured
agreements from major retailers to preserve customer-identifying information collected through
store loyalty programs. See Exs. 69-74 (collecting retailer declarations).


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 IX.       HAGENS BERMAN SOBOL SHAPIRO LLP SHOULD BE APPOINTED CLASS
                      COUNSEL UNDER FED. R. CIV. P. 23(g)

          Finally, Plaintiff’s counsel has and will continue to “fairly and adequately represent the

interests of the class.”219 As a result, Plaintiff respectfully requests that the Court appoint Hagens

Berman Sobol Shapiro LLP as Class Counsel pursuant to Fed. R. Civ. P. 23(g).

                                        X.     CONCLUSION

          For the reasons provided above, Plaintiff respectfully requests that this Court (1) certify

the classes, as detailed above, (2) appoint Plaintiff as Class representative, (3) appoint Hagens

Berman Sobol Shapiro LLP as Class Counsel, (4) direct that notice be sent to the Classes, and

(5) grant her all such other relief as the Court deems necessary and appropriate.


DATED: January 11, 2019                         Respectfully submitted,

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    219
          Fed. R. Civ. P. 23(g)(4). See also supra § V.E.


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                                 CERTIFICATE OF SERVICE
         The undersigned hereby certifies that a true and accurate redacted copy of the foregoing

(along with an unredacted copy filed under seal) was filed electronically via the Court’s ECF

system, on January 11, 2019. Notice of electronic filing will be sent to all parties by operation of

the Court’s electronic filing system with courtesy copies to be separately sent by e-mail.

                                              By: /s/ Elizabeth A. Fegan
                                                    Elizabeth A. Fegan




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